     Case: 1:23-cv-05562 Document #: 10 Filed: 08/27/23 Page 1 of 3 PageID #:37




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

GERARDO CASTRO,                              )
                                             )
             Plaintiff,                      )       Case No. 1:23-cv-05562
                                             )
v.                                           )       Honorable Matthew F. Kennelly
                                             )
MENARD, INC., d/b/a MENARDS,                 )       Honorable Sunil R. Harjani,
                                             )       Magistrate Judge
                                             )
             Defendant.                      )

                          FIRST AMENDED COMPLAINT AT LAW

      NOW COMES the Plaintiff, GERARDO CASTRO, by and through his attorneys, Robert

A. Langendorf, P.C. and Law Office of Kenneth A. Fishman, P.C., and complains of the

Defendant, MENARD, INC., d/b/a MENARDS, and in support thereof states as follows:

                                GENERAL ALLEGATIONS

1.    At all relevant times stated herein, Defendant, MENARD, INC., d/b/a MENARDS, owned,

      operated, managed, maintained, inspected, controlled, and/or leased the premises located

      at or about 6401 Grand Avenue in the City of Gurnee, County of Lake, and State of Illinois.

2.    On or about July 21, 2021, Plaintiff, GERARDO CASTRO, was lawfully on the

      aforementioned premises as a business invitee.

3.    At the aforesaid time and place, Plaintiff, while pushing a handcart provided by Defendant

      on the Defendant’s premises and while using it within its intended purpose, was knocked

      to the ground by the aforesaid handcart when it was stuck in a broken and/or otherwise

      defective portion of the concrete flooring of the Defendant’s premises at or about the front

      doors, causing Plaintiff bodily injuries.
     Case: 1:23-cv-05562 Document #: 10 Filed: 08/27/23 Page 2 of 3 PageID #:38




4.    At the aforesaid time and place, Defendant, MENARD, INC., d/b/a MENARDS, by and

      through its agents, servants, and/or employees, knew or should have known that the area

      near the front door was dangerous and unsafe for pedestrians and failed to post warnings

      of such dangerous conditions.

5.    At the aforesaid time and place, Defendant, MENARD, INC., d/b/a MENARDS, by and

      through its agents, servants, and/or employees, knew or should have known that the

      handcarts provided for business invitees were dangerous and unstable and failed to post

      warnings of such dangerous conditions.

6.    That at all relevant times stated herein, Plaintiff, GERARDO CASTRO, was exercising

      due care and caution for their safety and was free from any and all contributory negligence.

7.    At the time and place aforesaid, Defendant, MENARD, INC., d/b/a MENARDS, by and

      through its agents, servants, and/or employees, breached its duty in one or more of the

      following ways:

      a.     Carelessly and negligently owned, operated, managed, maintained, inspected,
             controlled, and/or leased said premises;

      b.     Carelessly and negligently allowed said property to exist in a dangerous and
             defective condition;

      c.     Carelessly and negligently failed to post proper warnings of the dangerous
             conditions that existed, knowing, or where it should be known in the exercise of
             reasonable care, that such warnings were necessary to ensure the safety of the
             Plaintiff and all others present;

      d.     Carelessly and negligently failed to properly maintain said premises and said
             handcarts upon the premises for safe use by business invitees, including the
             Plaintiff;

      e.     Carelessly and negligently failed to correct the aforesaid defective condition;

      f.     Carelessly and negligently failed to provide a safe and reasonable means of egress
             from the Defendant’s premises.



                                               2
     Case: 1:23-cv-05562 Document #: 10 Filed: 08/27/23 Page 3 of 3 PageID #:39




8.     That as a direct and proximate result of one or more of the aforesaid careless and negligent

       acts and/or omissions of the Defendant, MENARD, INC., d/b/a MENARDS, the Plaintiff,

       GERARDO CASTRO, then and there sustained severe and permanent injuries and was,

       and will be hindered and prevented from attending to their usual duties and affairs of life,

       and has lost and will lose, the value of that time as aforementioned. Further, Plaintiff,

       GERARDO CASTRO, suffered great pain and anguish, both in mind and body and will in

       the future continue to suffer. Plaintiff further expended and became liable for large sums

       of money for medical care and services while endeavoring to become healed and cured of

       said injuries.

       WHEREFORE, the Plaintiff, GERARDO CASTRO, demands judgment against the

Defendant, MENARD, INC., d/b/a MENARDS, individually in a sum greater than $50,000.00

(Fifty Thousand Dollars) plus costs of this suit and any other relief this court deems fair and just.

Respectfully Submitted,

 /S/ Robert A. Langendorf                             /S/ Kenneth A. Fishman
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